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                    UNITED STATES DISTRICT COURT
          FOR THE Northern District of Illinois − CM/ECF LIVE, Ver 6.3.3
                               Eastern Division

UNITED STATES OF AMERICA
                                         Plaintiff,
v.                                                       Case No.: 1:17−cr−00611
                                                         Honorable Thomas M. Durkin
Labar Spann, et al.
                                         Defendant.



                        NOTIFICATION OF DOCKET ENTRY



This docket entry was made by the Clerk on Monday, October 18, 2021:


         MINUTE entry before the Honorable Thomas M. Durkin: as to Labar Spann. Jury
trial held and continued to 10/19/2021 at 9:00 a.m. Mailed notice. (ecw, )




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